                Case 1:19-cv-03379-KAM-SJB Document 2 Filed 06/07/19 Page 1 of 1 PageID #: 23
AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Eastern District of New York

                                                                            )
                                                                            )
 Eva Rivas, Jane Doe individually and on behalf of all others               )
 similarly situated
                                                                            )
                                      Plaintiff(s)                          )
                                           v.                               ) Civil Action No. 1:19-cv-03379
 The Hershey Company                                                        )
                                                                            )
                                                                            )
                                     Defendant(s)                           )
                                                                            )

                                                         SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)              The Hershey Company
                                                C/O THE CORPORATION TRUST COMPANY
                                                CORPORATION TRUST CENTER 1209 ORANGE ST
                                                WILMINGTON, DE 19801



            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
  the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
  (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
  Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
   address are:                                 Sheehan & Associates, P.C. 505 Northern Blvd., #311, Great Neck, NY 11021




         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.

                                                                           DOUGLAS C. PALMER
                                                                           CLERK OF COURT

               6/7/2019                                                     /s/Priscilla Bowens
  Date:
                                                                                     Signature of Clerk or Deputy Clerk
